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                      UNITED STATES DISTRICT COURT                          JS-6
                     CENTRAL DISTRICT OF CALIFORNIA




MARK WILSON et al.,                         Case No. 5:20-cv-01691-SB-KK
       Plaintiffs,
                                            Case No. 5:21-cv-00841-SB-KK
 v.
                                            FINAL JUDGMENT
PACTIV LLC,
       Defendant.



JACK RODRIGUEZ et al.,

       Plaintiffs,

v.

PACTIV, LLC,

       Defendant.



       For the reasons set forth in the Court’s Order Granting Motion for Final
Approval of Class Action Settlement and Granting in Part Motion for Attorneys’
Fees, Costs, and Class Representative Enhancement Payments, it is hereby
ordered, adjudged, and decreed that judgment is entered in accordance with the
Parties’ Joint Stipulation of Class Action Settlement and Release (“Settlement
Agreement”). Unless otherwise provided herein, all capitalized terms used herein
shall have the same meaning as defined in the Settlement Agreement.




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      With the exception of the following four individuals who opted out of the
Settlement Class (Miguel Valadez Naranjo, Yang Pao Vue, Felipe Dela Cruz and
Jorge Arias Orozco) this judgment shall be binding on: All persons who are
employed or have been employed by Defendant Pactiv LLC in California as
hourly-paid or non-exempt employees at any time during the time period from
May 29, 2016 to July 1, 2022. These Participating Class Members have released
and forever discharged the Released Parties (as defined in the Settlement
Agreement) for any and all Released Class Claims:

      All claims that reasonably could have been raised based on the factual
      allegations made in the Complaints in the Actions during the Class
      Period, including: (i) all claims for alleged failure to pay straight time,
      overtime, or double time wages, failure to pay wages for off-the-clock
      work, and failure to pay other wages of any kind during employment
      either under the California Labor Code, the FLSA, or common law;
      (ii) failure to provide meal periods or pay meal period premiums; (iii)
      failure to provide rest periods or pay rest period premiums; (iv) failure
      to pay minimum wages; (v) failure to pay final wages due at
      separation; (vi) failure to provide accurate and itemized wage
      statements; (vii) claims brought under Business & Professions Code
      section 17200 et seq. including, but not limited to, all claims for
      unfair, unlawful and harmful conduct to Class Members, the general
      public and Defendant’s competitors and claims of unlawfully gaining
      an unfair advantage over other businesses; (viii) PAGA claims for
      civil penalties due to any Labor Code violations by Defendant arising
      out of or reasonably related to facts alleged in the complaint
      including, but not limited to, Labor Code sections 201, 202, 203, 204,
      226, 226.7, 510, 512, 1194, 1197, 1197.1, and 1198; (ix) claims
      arising from any violation of any applicable Wage Order; (x) claims
      for failure to reimburse expenses; (xi) claims based on miscalculations
      of the regular rate of pay; (xii) claims based on failure to pay accrued
      vacation wages; (xiii) penalties of any nature; (xiv) interest; (xv)
      attorneys’ fees and costs; and (xvi) any other claims arising out of or
      reasonably related to facts alleged in the respective Complaints filed
      in the Actions during the Class Period.

       Additionally, all PAGA Members and the LWDA have released and forever
discharged the Released Parties for any and all Released PAGA Claims: All
claims asserted through California Labor Code §§ 2698, et seq., that reasonably
arise out of or are related to the Released Class Claims during the PAGA Period.


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       Additionally, as provided in the Settlement Agreement, Plaintiffs Mark
Wilson and Jack Rodriguez have released and forever discharged the Released
Parties from any and all claims, known and unknown, asserted and not asserted,
which either of them has or may have against the Released Parties, and expressly
waive all rights and benefits conferred upon them by the provisions of Section
1542 of the California Civil Code.

       Notice of Entry of this Judgment will be provided by CPT Group, Inc.
through publication on CPT Group, Inc.’s website within seven (7) calendar days
of entry of this Judgment.

      This is a Final Judgment.


Date: February 21, 2023                     ___________________________
                                                  Stanley Blumenfeld, Jr.
                                                United States District Judge




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